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 Fill in this information to identify your case:


 United States Bankruptcy Court for the:                                                                         •
 DISTRICT OF DELAWARE

 Case number (if known)                                                       Chapter      11
                                                                                                                                Check if this an
                                                                                                                                amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


 1.    Debtor's name               Capstone Turbine Financial Services, LLC

 2.    All other names debtor
       used in the last 8 years
       Include any assumed         N/A
       names, trade names and
       doing business as names

 3.    Debtor's federal
       Employer Identification     N/A
       Number (EIN)


 4.    Debtor's address            Principal place of business                                      Mailing address, if different from principal place of
                                                                                                    business


                                   16640 Stagg Street, Van Nuys, California 91406
                                   Number, Street, City, State & ZIP Code                           P.O. Box, Number, Street, City, State & ZIP Code

                                   Los Angeles                                                      Location of principal assets, if different from principal
                                   County                                                           place of business

                                                                                                    Number, Street, City, State & ZIP Code

                                   https://www.capstonegreenenergy.com/
 5.    Debtor's website (URL)


 6.    Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                         Partnership (excluding LLP)
                                         Other. Specify:




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Debtor     Capstone Turbine Financial Services, LLC                                                      Case number (if known)
           Name

7.    Describe debtor's business         A. Check one:
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above

                                         B. Check all that apply
                                            Tax-exempt entity (as described in 26 U.S.C. §501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                             Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                              3336

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
                                             Chapter 7
      debtor filing?
      A debtor who is a “small               Chapter 9
      business debtor” must check            Chapter 11. Check all that apply:
      the first sub-box. A debtor as
      defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
      elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
      subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
      (whether or not the debtor is                                operations, cash-flow statement, and federal income tax return or if any of these documents do not
      a “small business debtor”)                                   exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      must check the second sub-                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
      box.                                                         debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                   proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                   balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                   any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                   A plan is being filed with this petition.
                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                   accordance with 11 U.S.C. § 1126(b).
                                                                   The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                   Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                   Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                   (Official Form 201A) with this form.
                                                                   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                             Chapter 12

9.    Were prior bankruptcy                 No.
      cases filed by or against
                                            Yes.
      the debtor within the last 8
      years?
      If more than 2 cases, attach a
      separate list.                               District                                 When                                  Case number
                                                   District                                 When                                  Case number

10. Are any bankruptcy cases                No
    pending or being filed by a
                                            Yes.
    business partner or an
    affiliate of the debtor?



      List all cases. If more than 1,
      attach a separate list                       Debtor     See Schedule 1, attached                                        Relationship
                                                   District                                 When                              Case number, if known



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Debtor    Capstone Turbine Financial Services, LLC                                               Case number (if known)
          Name

11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                      preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                               It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?
                                               It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                              livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                               Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                               No
                                               Yes. Insurance agency
                                                       Contact name
                                                       Phone


          Statistical and administrative information (on a consolidated basis)

13. Debtor's estimation of      .        Check one:
    available funds
                                            Funds will be available for distribution to unsecured creditors.
                                            After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                            1,000-5,000                                25,001-50,000
    creditors
                                    50-99                                           5001-10,000                                50,001-100,000
    (on a consolidated basis)
                                    100-199                                         10,001-25,000                              More than 100,000
                                    200-999

15. Estimated assets                $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
    (on a consolidated basis)
                                    $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities           $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
    (on a consolidated basis)
                                    $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion




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Debtor    Capstone Turbine Financial Services, LLC                                                 Case number (if known)
          Name

          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      09/28/2023
                                                  MM / DD / YYYY


                             X /s/ John Juric                                                             John Juric
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Financial Officer




18. Signature of attorney    X /s/ Matthew Lunn                                                            Date 09/28/2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Matthew Lunn
                                 Printed name

                                 Young Conaway Stargatt & Taylor, LLP
                                 Firm name

                                 Rodney Square, 1000 N. King Street, Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (302) 571-6600                Email address      mlunn@ycst.com


                                 4119 DE
                                 Bar number and State




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                                                       Schedule 1

                   Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

              On the date hereof, each of the affiliated entities listed below (collectively, the “Debtors”) filed

         a voluntary petition for relief under chapter 11 of title 11 of the United States Code in the United

         States Bankruptcy Court for the District of Delaware. Contemporaneously with the filing of their

         voluntary petitions, the Debtors have filed a motion requesting that the chapter 11 cases of these

         entities be consolidated for procedural purposes only and jointly administered under the number

         assigned to the chapter 11 case of Capstone Green Energy Corporation.



             Entity Name                                       Federal Employer Identification Number
             Capstone Green Energy Corporation                              XX-XXXXXXX
             Capstone Turbine International, Inc.                           XX-XXXXXXX
             Capstone Turbine Financial Services, LLC                           N/A




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                           OMNIBUS WRITTEN CONSENT
                                       OF
                      CAPSTONE GREEN ENERGY CORPORATION
                      CAPSTONE TURBINE INTERNATIONAL, INC.
                    CAPSTONE TURBINE FINANCIAL SERVICES, LLC

                                         September 26, 2023

        The undersigned, being every member of the board of directors and the sole member (each,
a “Governing Body”), as applicable, of CAPSTONE GREEN ENERGY CORPORATION, a
Delaware corporation (the “CGRN”), CAPSTONE TURBINE INTERNATIONAL, INC., a
Delaware corporation (“Capstone International”), and CAPSTONE TURBINE FINANCIAL
SERVICES, LLC, a Delaware limited liability company (“Capstone Financial” and together with
the CGRN and Capstone International collectively, the “Companies”, and each, a “Company”),
hereby take the following actions and adopt the following resolutions (the “Resolutions”) by
written consent in lieu of a meeting of each Governing Body, with the same force and effect as if
taken at a meeting of such Governing Body:

               WHEREAS, a special meeting of the Governing Body was held by
        telephone and videoconference on September 26, 2023, of which all members of
        the Governing Body were provided sufficient notice;

                WHEREAS, each Governing Body has considered presentations by the
        management of, and the financial and legal advisors to, each Company regarding
        the liabilities and liquidity situation of such Company, the strategic alternatives
        available to it, and the effect of the foregoing on such Company's business,
        creditors, and other parties in interest;

                WHEREAS, CGRN engaged Greenhill & Co. LLC (“Greenhill”) to lead
        efforts to either refinance the notes issued pursuant to that certain Amended and
        Restated Note Purchase Agreement, dated as of October 1, 2020 (as amended,
        restated, supplemented or otherwise modified from time to time, the “NPA”), by
        and among each Company, the purchaser party thereto (the “Purchaser”), and
        Goldman Specialty Lending Group, L.P. (as successor in interest to Goldman Sachs
        Specialty Lending Holdings, Inc.; in its capacity as collateral agent, the “NPA
        Collateral Agent”) or to identify an acquirer of the Companies;

               WHEREAS, Greenhill’s efforts to either refinance the notes issued
        pursuant to the NPA or to identify an acquirer were unsuccessful;

               WHEREAS, each Governing Body has had the opportunity to consult with
        the applicable Company's management, and financial and legal advisors and other
        professionals, and fully consider each of the strategic alternatives available to each
        Company;

               WHEREAS, based on its review of all available alternatives and advice
        provided by such advisors and professionals, each Governing Body has determined




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        it is in the best interest of each Company and its stakeholders for such Company to
        take the actions specified in the following Resolutions;

                WHEREAS, each Governing Body has been presented with a proposed
        petition to be filed by each Company in the United States Bankruptcy Court for the
        District of Delaware (the “Bankruptcy Court”) seeking relief under the provisions
        of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), in
        which the authority to operate as a debtor-in-possession will be sought;

                WHEREAS, each Governing Body, having considered the financial and
        operational aspects of each Company's business and the best course of action to
        maximize value, deems it advisable and in the best interests of such Company, its
        creditors, and other interested parties that a petition be filed by such Company
        seeking relief under the provisions of chapter 11 of the Bankruptcy Code; and

               WHEREAS, the Companies have prepared or negotiated that certain
        Transaction Support Agreement by and among the Companies, the Purchaser, and
        NPA Collateral Agent, dated as of September 26, 2023 (the “Transaction Support
        Agreement”), the Disclosure Statement for the Joint Prepackaged Chapter 11 Plan
        of Reorganization of Capstone Green Energy Corporation and its Debtor Affiliates
        (the “Disclosure Statement”), and the Joint Prepackaged Chapter 11 Plan of
        Reorganization of Capstone Green Energy Corporation and its Debtor Affiliates
        (the “Plan”, and together with the Transaction Support Agreement, Disclosure
        Statement, and related documents in support of the Transaction Support
        Agreement, Disclosure Statement, and Plan, the “Plan Documents”).

                NOW, THEREFORE, BE IT:

                Chapter 11 Petitions

               RESOLVED, that in the judgment of each Governing Body it is desirable
        and in the best interests of the applicable Company, creditors, employees,
        stakeholders and other interested parties, that a voluntary petition be filed by such
        Company seeking relief under the provisions of chapter 11 of the Bankruptcy Code,
        and the filing of such petition is authorized hereby; and be it further

                RESOLVED, that John Juric, Chief Financial Officer of each Company
        and Robert C. Flexon, Interim President and Chief Executive Officer of each
        Company (the “Authorized Persons”), is hereby authorized and empowered, on
        behalf of and in the name of such Company, to execute and verify a petition in the
        name of such Company under chapter 11 of the Bankruptcy Code and to cause the
        same to be filed in the Bankruptcy Court (collectively, the “Chapter 11 Case”) in
        such form and at such time as the Authorized Person executing said petition on
        behalf of such Company shall determine; and be it further



                Plan Documents

                                                    2




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                RESOLVED, that each Authorized Person be, and hereby is, authorized
        and empowered, on behalf of and in the name of each Company, to execute the Plan
        Documents and make, execute, deliver and file or to cause to be made, executed,
        delivered and filed any and all agreements, instruments, certificates and documents
        as is necessary, convenient or appropriate in furtherance of the Plan Documents;
        and be it further

                RESOLVED, that each Authorized Person be, and hereby is, authorized
        and empowered, on behalf of and in the name of each Company, to file and
        prosecute the Plan Documents and make, execute, deliver and file or to cause to be
        made, executed, delivered and filed any and all agreements, instruments,
        certificates and documents as is necessary, convenient or appropriate in furtherance
        of the Plan Documents and the restructuring transactions contemplated by the Plan
        Documents (the “Restructuring Transactions”); and be it further

                RESOLVED, that each Authorized Person be, and hereby is, authorized
        and empowered, on behalf of and in the name of each Company, to take or cause
        to be taken any and all such other and further action, and to execute, acknowledge,
        deliver and file any and all agreements, certificates, instruments and other
        documents in furtherance of the Plan Documents and to incur and pay or cause to
        be paid all fees and expenses and engage such persons as may be necessary to give
        effect to such Restructuring Transactions; and be it further

               RESOLVED, that each Authorized Person be, and hereby is, authorized
        and empowered, on behalf of and in the name of each Company, to take any and all
        actions to obtain approval by the Bankruptcy Court or any other regulatory or
        governmental entity of the Restructuring Transactions and Plan Documents,
        including, without limitation, filing or causing to be filed the Plan Documents with
        the Bankruptcy Court; and be it further

                RESOLVED, that all acts and actions taken by the Authorized Persons or
        any other officer, director or agent designated by an Authorized Person prior to the
        date hereof with respect to the Restructuring Transactions and any of the other Plan
        Documents be, and hereby are, in all respects confirmed, approved, and ratified;
        and be it further

                Retention of Advisors

                RESOLVED, that, in connection with the Chapter 11 Case, each
        Authorized Person is hereby authorized, empowered, and directed, with full power
        of delegation, in the name and on behalf of each Company, to employ and retain all
        assistance by legal counsel, accountants, financial advisors, investment bankers and
        other professionals, on behalf of the Company, which such Authorized Person
        deems necessary, appropriate or advisable in connection with, or in furtherance of,
        the Chapter 11 Case, with a view to the successful prosecution of the Chapter 11
        Case (such acts to be conclusive evidence that the Authorized Person deemed the
        same to meet such standard); and be it further


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               RESOLVED, that the firm of Katten Muchin Rosenman LLP, located at
        525 West Monroe Street, Chicago, Illinois 60661, is hereby retained as Chapter 11
        counsel for each Company in the Chapter 11 Case, subject to Bankruptcy Court
        approval; and be it further

                RESOLVED, that the firm of Young Conaway Stargatt & Taylor, LLP
        located at 1000 North King Street, Wilmington, Delaware 19801, is hereby retained
        as co-counsel for each Company in the Chapter 11 Case, subject to Bankruptcy
        Court approval; and be it further

                RESOLVED, that the firm of Riveron RTS, LLC, located at Two Houston
        Center, 909 Fannin Street, Suite 4000, Houston, Texas, is hereby retained as
        financial advisor for each Company in the Chapter 11 Case, subject to Bankruptcy
        Court approval; and be it further

                RESOLVED, that the firm of Kroll Restructuring Administration LLC,
        located at 55 East 52nd Street, 17th Floor, New York, New York, is hereby retained
        as claims, noticing and solicitation agent and administrative advisor for each
        Company in the Chapter 11 Case, subject to Bankruptcy Court approval; and be it
        further

                General Authority

                RESOLVED, that each Authorized Person is hereby, authorized and
        empowered, on behalf of and in the name of each Company, to take or cause to be
        taken any and all such actions, agreements, certificates, instruments, and other
        documents and to pay all expenses, including, but not limited to filing fees, in each
        case, in such Authorized Person’s judgment, shall be necessary, appropriate, or
        desirable in order to fully carry out the intent and accomplish the purposes of the
        Resolutions adopted herein; and be it further

                RESOLVED, that all acts lawfully done or actions lawfully taken by each
        Authorized Person, or by any employees or agents of each Company, on or before
        the date hereof in connections with the transactions contemplated by the foregoing
        Resolutions be, and they hereby are, ratified, confirmed, and approved in all
        respects by the Governing Body; and be it further

               RESOLVED, that the Governing Body has received sufficient notice of the
        actions and transactions relating to the matters contemplated by the foregoing
        Resolutions, as may be required by the organizational documents of each Company,
        or hereby waive any right to have received such notice; and be it further

                RESOLVED, that all previous resolutions of each Company or any
        committee thereof which are inconsistent with these Resolutions are hereby
        repealed, revoked and rescinded to the extent of any such inconsistency; and be it
        further



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                RESOLVED, that these Resolutions may be executed in any number of
        counterparts, each of which shall be deemed an original and all of which together
        shall be deemed to constitute one or the same Resolutions.

                This Consent may be executed in counterparts and may be executed and
        delivered by facsimile, email of a .pdf file or other electronic transmission.

                                      [Signature Pages Follow]




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      IN WITNESS WHEREOF, the undersigned have executed this Action by Written
Consent of the Governing Body as of the date first set forth above.

Entity: CAPSTONE GREEN ENERGY CORPORATION

                                                   BOARD OF DIRECTORS:



                                                   Robert C. Flexon
                                                               26 Sep, 2023 5:08:50 PM CDT




                                                   Ping Fu      26 Sep, 2023 4:12:23 PM CDT




                                                              26 Sep, 2023 5:08:35 PM CDT
                                                   Yon Y. Jorden



                                                               26 Sep, 2023 5:18:41 PM CDT
                                                   Robert F. Powelson



                                                   Denise Wilson
                                                             26 Sep, 2023 3:49:07 PM CDT




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      IN WITNESS WHEREOF, the undersigned have executed this Action by Written
Consent of the Governing Body as of the date first set forth above.

Entity: CAPSTONE TURBINE INTERNATIONAL, INC.

                                                   BOARD OF DIRECTORS:



                                                   Robert C. Flexon




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      IN WITNESS WHEREOF, the undersigned have executed this Action by Written
Consent of the Governing Body as of the date first set forth above.

Entity: CAPSTONE TURBINE FINANCIAL SERVICES, LLC

                                         SOLE MEMBER:
                                         CAPSTONE GREEN ENERGY CORPORATION:



                                         Name: Robert C. Flexon
                                         Title: Executive Chairman, Interim President and Chief
                                         Executive Officer




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Fill in this information to identify the case:
  Debtor name: Capstone Green Energy Corporation, et al.                                                                                                         □ Check if this is an amended filing
  United States Bankruptcy Court for the: District of Delaware
  Case number (if known): _______TBD_________



Official Form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                                                                                12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an insider.

Name of creditor and complete mailing         Name, telephone number, and email           Nature of the claim (for   Indicate if claim is   Amount of unsecured claim
address, including zip code                   address of creditor contact                 example, trade debts,      contingent,            If the claim is fully unsecured, fill in only unsecured claim amount. If
                                                                                          bank loans, professional   unliquidated, or       claim is partially secured, fill in total claim amount and deduction for
                                                                                          services, and              disputed               value of collateral or setoff to calculate unsecured claim.
                                                                                          government contracts)


                                                                                                                                              Total claim, if       Deduction for value of
                                                                                                                                                                                                  Unsecured Claim
                                                                                                                                             partially secured       collateral or setoff
1    Beijing Institute of Aeronautical        Beijing Institute of Aeronautical
     Attn: Zhou Leimin                        Attn: Zhou Leimin
     Huanshancun,Wenquan Town                 Phone: 861062497204                         Trade                                                                                                         $6,126,490.00
     Beijing, 010 100095                      Fax: 8610‐62456925
     China                                    Email: leimin.zhou@biam.ac.cn

2    AUER Precision Company                   AUER Precision Company
     Attn: Tina Welsh                         Attn: Tina Welsh
     1050 West Birchwood                      Phone: 480‐834‐4637                         Trade                                                                                                         $3,678,950.23
     Mesa, AZ 85210                           Fax: 480‐964‐3090
                                              Email: twelsh@auerprecision.com

3    Radius Aerospace, Inc                    Radius Aerospace, Inc
     Attn: Alan Lewis                         Attn: Alan Lewis
     6733 West Willis Road                    Phone: 480‐639‐1151                         Trade                                                                                                         $2,513,094.00
     Chandler, AZ 85226                       Fax:
                                              Email: alewis@radiusaerospace.com

4    ZA Manufacturing LLC                     ZA Manufacturing LLC
     Attn: Ana Dipp                           Attn: Ana Dipp
     968 J. Tapia Ct                          Phone: 760‐427‐1815                         Trade                                                                                                         $1,750,987.80
     Calexico, CA 92231                       Fax:
                                              Email: adipp.za.mfg@gmail.com

5    Photo Fabricators Inc.                   Photo Fabricators Inc.
     Attn: Garrett Brooks                     Attn: Garrett Brooks
     7648 Burnet Avenue                       Phone: 818‐781‐1010 x102                    Trade                                                                                                         $1,367,480.40
     Van Nuys, CA 91405                       Fax:
                                              Email: Garrett@photofabricators.com

6    DV Energy LLC                            DV Energy LLC
     Attn: Andrei Cheremkin                   Attn: Andrei Cheremkin
     Mkr Ptitsefabrika 1/2                    Phone: 7 411 2318440
     Yakutia (Sakha)                          Fax:                                        Customer Refund                                                                                                $715,552.38
     Republic Yakutsk 677021                  Email: aic@dvenergy.pro
     Russia
7    RND Enterprises                          RND Enterprises
     Attn: Linda Franklin                     Attn: Linda Franklin
     820 E. Avenue L‐12                       Phone: 661‐940‐8554                         Trade                                                                                                          $656,604.59
     Lancaster, CA 93535                      Fax: 661‐940‐0388
                                              Email: accounting@rndcable.com

8    Amanet                                   Amanet
     Attn: Natalia Garzo                      Attn: Natalia Garzo
     7001 Eton Ave Ste # B                    Phone: 818‐786‐1113                         Trade                                                                                                          $584,500.67
     Canoga Park, CA 91303                    Fax: 818‐786‐5736
                                              Email: natalia@amanet.com

9    Windtech Inc                             Windtech Inc
     Attn: Gian Carlo Fu                      Attn: Gian Carlo Fu
     91 N G Ave                               Phone: 520‐364‐7372                         Trade                                                                                                          $455,497.20
     Douglas, AZ 85607                        Fax: 775‐258 ‐8196
                                              Email: GianCarlo.Fu@Windtech.com

10   Platinum Cargo Logistics Inc             Platinum Cargo Logistics Inc
     Attn: Kristy Doan                        Attn: Kristy Doan
     Dept# 42139                              Phone: 310‐436‐2060                         Trade                                                                                                          $356,498.53
     Dallas, CO 75265‐0823                    Fax: 720‐500‐2445
                                              Email: kristy.doan@platinumcargo.com

11   RS Truck Line                            RS Truck Line
     Attn: Jazmin Escarzaga                   Attn: Jazmin Escarzaga
     8504 Firestone Blvd #146                 Phone: 800‐535‐6813                         Trade                                                                                                          $280,115.00
     Downey, CA 90241                         Fax: 888‐315‐5424
                                              Email: billing.rstruckline@gmail.com

12   Megna Precision Sheet Metal              Megna Precision Sheet Metal
     Attn: Karin Urban                        Attn: Karin Urban
     8740 Winnetka Ave                        Phone: 727‐365‐8248                         Trade                                                                                                          $274,317.84
     Northridge, CA 91324                     Fax:
                                              Email: karin@k‐bros.com
                                            Case 23-11636-LSS
Debtor: Capstone Green Energy Corporation, et al.
                                                                                       Doc 1           Filed 09/28/23                        Page 15 of 18 Case number (if known) _TBD_________
 Name of creditor and complete mailing        Name, telephone number, and email           Nature of the claim (for   Indicate if claim is   Amount of unsecured claim
 address, including zip code                  address of creditor contact                 example, trade debts,      contingent,            If the claim is fully unsecured, fill in only unsecured claim amount. If
                                                                                          bank loans, professional   unliquidated, or       claim is partially secured, fill in total claim amount and deduction for
                                                                                          services, and              disputed               value of collateral or setoff to calculate unsecured claim.
                                                                                          government contracts)


                                                                                                                                              Total claim, if       Deduction for value of
                                                                                                                                                                                                  Unsecured Claim
                                                                                                                                             partially secured       collateral or setoff
 13   Schneider's Manufacturing Co., Inc      Schneider's Manufacturing Co., Inc
      Attn: Christina Schneider               Attn: Christina Schneider
      11122 Penrose Street                    Phone: 818‐771‐0082
      Sun Valley, CA 91352                    Fax: 818‐771‐0204                            Trade                                                                                                         $210,992.65
                                              Email: christina@schneidersmanufacturing.com


 14   Warren Power & Machinery, Inc           Warren Power & Machinery, Inc
      Attn: Kimberly Rotberg                  Attn: Kimberly Rotberg
      15 Smith Rd Suite 4000                  Phone: 432‐570‐3236                         Trade                                                                                                          $205,200.00
      Midland, TX 79705                       Fax: 432‐563‐0973
                                              Email: Kimberly.Rotberg@warrencat.com

 15   Dry Coolers Inc.                        Dry Coolers Inc.
      Attn: Melissa Lawrence                  Attn: Melissa Lawrence
      575 S. Glaspie Street                   Phone: 248‐969‐3400                         Trade                                                                                                          $198,324.50
      Oxford, MI 48371                        Fax: 248‐969‐3401
                                              Email: melissa@drycoolers.com

 16   T.H.T. Machining, Inc.                  T.H.T. Machining, Inc.
      Attn: Ha Dao                            Attn: Ha Dao
      7902 North Glen Harbor Blvd             Phone: 602‐269‐7999                         Trade                                                                                                          $185,577.34
      Glendale, AZ 85307                      Fax: 602‐269‐7901
                                              Email: Ha@thtmachining.com

 17   Prologis LP                             Prologis LP
      Attn: Susan Roy                         Attn: Susan Roy
      1800 Wazee St, Ste 500                  Phone:                                      Rent                                                                                                           $182,494.62
      Denver, CO 80202                        Fax:
                                              Email: sroy@prologis.com

 18   IEC SPEI Limited                        IEC SPEI Limited
      Attn: Nigel Davy                        Attn: Nigel Davy
      11‐13 Marverly Avenue Unit #14          Phone:                                      Trade                                                                                                          $180,774.50
      Kingston, 10                            Fax:
      Jamaica                                 Email: ndavy@ieclja.com

 19   Trend Technologies. LLC                 Trend Technologies. LLC
      Attn: Jill West                         Attn: Jill West
      4626 Eucalyptus Ave.                    Phone: 909‐597‐7861                         Trade                                                                                                          $178,409.82
      Chino., CA 91710                        Fax: 909‐597‐2284
                                              Email: jwest@Trendtechnologies.com

 20   Vaga Industries                         Vaga Industries
      Attn: Linda.Fry                         Attn: Linda.Fry
      2505 Loma Avenue                        Phone: 626‐442‐7436                         Trade                                                                                                          $153,440.40
      S. El Monte, CA 91733                   Fax: 626‐442‐4330
                                              Email: linda.fry@vaga.com

 21   AG World Transport                      AG World Transport
      Attn: Wind Ng                           Attn: Wind Ng
      238 Lawrence Ave                        Phone: 650‐246‐3737                         Trade                                                                                                          $145,505.08
      San Francisco, CA 94080                 Fax: 650‐246‐3939
                                              Email: windy.ng@omnilogistics.com

 22   Anhui Yingliu Electromechanical Co.     Anhui Yingliu Electromechanical Co.
      Attn: Eileen Tu                         Attn: Eileen Tu
      566 Fanhua Avenue                       Phone: 551‐63737845                         Trade                                                                                                          $135,048.40
      Hefei, 110 230601                       Fax: 0086‐551‐63821666
      China                                   Email:

 23   KCTG Holdings LP                        KCTG Holdings LP
      Attn: Kim Graw                          Attn: Kim Graw
      PO Box 2256                             Phone: 607‐442‐4196                         Trade                                                                                                          $125,650.00
      Wichita, KS 67201‐2256                  Fax:
                                              Email: KESInvoice@kes.global

 24   Spang & Company                         Spang & Company
      Attn: Dawn E. Duncan                    Attn: Dawn E. Duncan
      110 Delta Dr                            Phone: 412‐963‐9363                         Trade                                                                                                          $118,598.20
      Pittsburgh, PA 15238                    Fax: 412‐696‐0333
                                              Email: ARmailbox@Spang.com

 25   Phoenix Contact USA Inc                 Phoenix Contact USA Inc
      Attn: Tonya Schlosser                   Attn: Tonya Schlosser
      586 Fulling Mille Road                  Phone: 800‐808‐7177                         Trade                                                                                                          $116,436.71
      Middletown, PA 17057                    Fax: 717‐944‐1625
                                              Email: TSchlosser@phoenixcontact.com

 26   Vilter Manufacturing LLC                Vilter Manufacturing LLC
      Attn: Krsma Strohmeier                  Attn: Krsma Strohmeier
      5555 South Packard Ave                  Phone: 414‐486‐2608                         Trade                                                                                                          $115,787.60
      Cudahy, WI 53110                        Fax: 414‐744‐1769
                                              Email: Krsma.Strohmeier@Emerson.com

 27   Impro Aerotek USA, Inc                  Impro Aerotek USA, Inc
      Attn: Miki Chiou                        Attn: Miki Chiou
      21660 East Copley Drive, Ste 100        Phone: 909‐396‐6525 x103                    Trade                                                                                                          $104,881.13
      Diamond Bar, CA 91765                   Fax: 909‐396‐1677
                                              Email:


Official Form 204                                        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                              Page 2
                                            Case 23-11636-LSS
Debtor: Capstone Green Energy Corporation, et al.
                                                                                     Doc 1            Filed 09/28/23                       Page 16 of 18 Case number (if known) _TBD_________
 Name of creditor and complete mailing        Name, telephone number, and email         Nature of the claim (for   Indicate if claim is   Amount of unsecured claim
 address, including zip code                  address of creditor contact               example, trade debts,      contingent,            If the claim is fully unsecured, fill in only unsecured claim amount. If
                                                                                        bank loans, professional   unliquidated, or       claim is partially secured, fill in total claim amount and deduction for
                                                                                        services, and              disputed               value of collateral or setoff to calculate unsecured claim.
                                                                                        government contracts)


                                                                                                                                            Total claim, if       Deduction for value of
                                                                                                                                                                                                Unsecured Claim
                                                                                                                                           partially secured       collateral or setoff
 28   Orange County Thermal Industries In     Orange County Thermal Industries In
      Attn: Lauren Wakai                      Attn: Lauren Wakai
      1350 N Hundley St                       Phone: 714‐279‐9416                       Trade                                                                                                           $91,620.15
      Anaheim, CA 92806                       Fax: 714‐279‐9562
                                              Email: lwakai@teamocti.com

 29   CASS Customization                      CASS Customization
      Attn: Sandip Desai                      Attn: Sandip Desai
      9428 Eton Ave, Unit K                   Phone: 818‐717‐8823                       Trade                                                                                                           $84,593.24
      Chatsworth, CA 91311                    Fax:
                                              Email: Sandip@CASSCustomization.com

 30   Powerohm Hubbell Industrial Control     Powerohm Hubbell Industrial Control
      Attn: Mindy Delaney                     Attn: Mindy Delaney
      4301 Cheyenne Dr                        Phone: 336‐434‐2800                       Trade                                                                                                           $80,310.00
      Archdale, NC 27263                      Fax: (336) 434‐2803
                                              Email: mdelaney@hubbell.com




Official Form 204                                        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                            Page 3
                           Case 23-11636-LSS              Doc 1       Filed 09/28/23        Page 17 of 18




                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

                                                                      :
             In re:                                                   : Chapter 11
                                                                      :
             CAPSTONE GREEN ENERGY                                    : Case No. 23-[___] (___)
             CORPORATION, et al.,                                     :
                                                                      : (Joint Administration Requested)
                              Debtors. 1                              :
                                                                      :

                           CONSOLIDATED CORPORATE OWNERSHIP STATEMENT

                            Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of

         Bankruptcy Procedure, the above-captioned debtors and debtors in possession (each, a “Debtor”)

         hereby state as follows:

                            1.       Debtor Capstone Green Energy Corporation owns approximately 99% of

         the equity interests in Debtor Capstone Turbine International, Inc. 2 and 100% of the equity

         interests in Debtor Capstone Turbine Financial Services, LLC. 3




         1
               The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
               number are: Capstone Green Energy Corporation (0883); Capstone Turbine International, Inc. (4270); and
               Capstone Turbine Financial Services, LLC (N/A). The Debtors’ mailing address is 16640 Stagg Street, Van
               Nuys, California 91406.
         2
               The remaining approximately 1% of the equity interests in Debtor Capstone Turbine International, Inc. is held by
               certain of the Debtors’ key employees and directors who were issued such shares prior to the Petition Date.
         3
               Debtor Capstone Green Energy Corporation is a publicly traded company. Pursuant to the Motion of Debtors for
               Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) File a Consolidated List of Creditors in lieu
               of Submitting a Separate Mailing Matrix for Each Debtor, (B) File Consolidated List of the Debtors’ Thirty
               Largest Unsecured Creditors, and (C) Redact Certain Personally Identifiable Information, (II) Waiving the
               Requirement to File a List of Equity Security Holders, and (III) Granting Related Relief, the Debtors are
               requesting waiver of the requirement that they file a list of Capstone Green Energy Corp’s equity security holders
               under rules 1007(a)(3) and 2002(d) of the Federal Rules of Bankruptcy Procedure.
30769871.1
                                        Case 23-11636-LSS                            Doc 1       Filed 09/28/23         Page 18 of 18

Fill in this information to identify the case:

Debtor name         Capstone Turbine Financial Services, LLC

United States Bankruptcy Court for the:           DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                        amended filing




    Official Form 202
•
    Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

    An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
    form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
    amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and
    the date. Bankruptcy Rules 1008 and 9011.

    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
    connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
    and 3571.

                    Declaration and signature



           I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
           individual serving as a representative of the debtor in this case.

           I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                      Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                      Schedule H: Codebtors (Official Form 206H)
                      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                      Amended Schedule
                                                  •




                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                      Other document that requires a declaration Consolidated Corporate Ownership Statement


                  Other document that requires a declaration                   N/A

           I declare under penalty of perjury that the foregoing is true and correct.

            Executed on           09/28/2023                             X /s/ John Juric
                                                                           Signature of individual signing on behalf of debtor

                                                                          •
                                                                               John Juric
                                                                              Printed name

                                                                          •
                                                                               Chief Financial Officer
                                                                              Position or relationship to debtor



    Official Form 202                                              Declaration Under Penalty of Perjury for Non-Individual Debtors
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